                             UNITED STATES DISTRICT COURT
                                                                                   Motion GRANTED
                        FOR THE MIDDLE DISTRICT OF TENNESSEE                       conditioned upon
                                                                                   the timely filing of
                                     NASHVILLE DIVISION
                                                                                   waivers of speedy
                                                                                   trial.

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
       v.                                        )        No. 3:13-00153-1
                                                 )        JUDGE TRAUGER
                                                 )
DORIAN AYACHE                                    )


                               MOTION TO CONTINUE TRIAL

       Defendant Dorian Ayache respectfully moves the Court to continue the trial set for April

15, 2014, as well as all associated deadlines.

       Section 3161(h)(7)(A) of Title 18 provides, in pertinent part, that any period of delay

resulting from a continuance granted on the basis of a court’s findings that the ends of justice

served by granting of a continuance outweigh the best interests of the public and the defendant in

a speedy trial shall be excluded in computing the time within which the trial must commence.

The factors that a judge shall consider in determining whether to grant a continuance are found at

18 U.S.C. § 3161(h)(7)(B)(iv). One such factor is whether the denial of a continuance would

deny counsel for the defendant “the reasonable time necessary for effective preparation, taking
into account the exercise of due diligence.”

       On September 19, 2013, Defendant Dorian Ayache was arraigned on charges of violating

Department of Transportation regulations, conspiracy to defraud the government, and tampering

with evidence. Over the last month, Ayache has litigated several motions, and that litigation has

given rise to the need to make further investigation before trial. Consequently, in the present

case, the interests of justice served by the granting of a continuance outweigh the interests of the

public and the defendant in a speedy trial. The denial of a continuance in the present case would

deny the defendant the reasonable time necessary for effective preparation, taking into account




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